05-44481-rdd   Doc 7965-9   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                            A Part 2c of Aff Pg 1 of 17
05-44481-rdd   Doc 7965-9   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-9   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-9   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-9   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-9   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-9    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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